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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA


DAKOTA VAUGHN,

       Plaintiff,

v.
                                                    Case No. CIV-17-086-RAW
ARKANSAS EGG COMPAN, INC., and
VITAL FARMS, INC.,

       Defendants.



                                              ORDER

       This matter came on for status and scheduling conference and motions hearing today.

The Second Amended Complaint is deemed filed as of April 17, 2017. The court addressed the

joint motion to dismiss [Docket No. 38]. For the reasons stated at the hearing, the joint motion

to dismiss is granted in part and denied in part as follows: (1) the motion is granted as to the

declaratory action, as the Defendants have waived the arbitration clause and Plaintiff has not

alleged sufficient imminence of the non-compete clause being in controversy; (2) the motion is

granted as to the bad faith claims, as the Plaintiff has not made allegations of a special

relationship or a contract of adhesion and his allegations as to this claim are conclusory; (3) the

motion is granted as to exemplary damages; and (4) the motion is denied as to the breach of

contract claims.

       IT IS SO ORDERED this 25th day of May, 2017.
